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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Defendant Tickbox TV LLC
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
UNIVERSAL CITY STUDIOS PRODUCTIONS                                            CASE NUMBER:

LLLP, et al.                                                                                   2:17-CV-07496-MWF-AS
                                                              Plaintiff(s),
                                     v.
TICKBOX TV LLC
                                                                                             CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                             Defendant Tickbox TV LLC
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                 CONNECTION / INTEREST
Tickbox TV LLC                                                                Defendant
Carrla Goldstein                                                              Member of Defendant




         December 8, 2017                                  /s/ Brandon J. Witkow
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Defendant Tickbox TV LLC


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
